                  Case 1-18-42228-cec              Doc 53       Filed 06/13/19          Entered 06/13/19 14:23:14




                                           UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF NEW YORK


In re FMTB BH LLC                                                                         Case No. 18-42228
      Debtor                                                                     Reporting Period:     May-19

                                                                                 Federal Tax I.D. # XX-XXXXXXX

                                      CORPORATE MONTHLY OPERATING REPORT

    File with the Court and submit a copy to the United States Trustee within 20 days after the end of the month and
    submit a copy of the report to any official committee appointed in the case.
    (Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the end of
    the month, as are the reports for Southern District of New York.)

    REQUIRED DOCUMENTS                                                                Form No.          Document Explanation
                                                                                                        Attached Attached
    Schedule of Cash Receipts and Disbursements                                  MOR-1         X
    Bank Reconciliation (or copies of debtor's bank reconciliations)             MOR-1 (CON'T) X
       Copies of bank statements                                                               X
       Cash disbursements journals
    Statement of Operations                                                      MOR-2                 X
    Balance Sheet                                                                MOR-3                 X
    Status of Post-petition Taxes                                                MOR-4                 X
       Copies of IRS Form 6123 or payment receipt
       Copies of tax returns filed during reporting period
    Summary of Unpaid Post-petition Debts                                        MOR-4                 X
       Listing of Aged Accounts Payable
    Accounts Receivable Reconciliation and Aging                                 MOR-5                 X
    Taxes Reconciliation and Aging                                               MOR-5                 X
    Payments to Insiders and Professional                                        MOR-6                 X
    Post Petition Status of Secured Notes, Leases Payable                        MOR-6                 X
    Debtor Questionnaire                                                         MOR-7                 X

    I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
    are true and correct to the best of my knowledge and belief.

    Signature of Debtor                                                                                Date

    Signature of Authorized Individual*                                                                Date

    Printed Name of Authorized Individual Martin Ehrenfeld                                             Date

    *Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor is a
    partnership; a manager or member if debtor is a limited liability company.
                 Case 1-18-42228-cec                         Doc 53            Filed 06/13/19                  Entered 06/13/19 14:23:14

In re FMTB BH LLC                                                                              Case No. 18-42228
      Debtor                                                                          Reporting Period:       May-19

                                  SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
    Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
    or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
    ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
    The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
    attached for each account. [See MOR-1 (CON’T)]

                                                                                                              BANK ACCOUNTS
                                                                   OPER                    PAYROLL                    TAX                   OTHER          CURRENT MONTH
                                                                                                                                                          ACTUAL (TOTAL OF
    ACCOUNT NUMBER (LAST 4)
                                                                                                                                                            ALL ACCOUNTS)
    CASH BEGINNING OF MONTH                              $                40.00
    RECEIPTS
    CASH SALES
    ACCOUNTS RECEIVABLE -
    PREPETITION
    ACCOUNTS RECEIVABLE -
    POSTPETITION
    LOANS AND ADVANCES
    SALE OF ASSETS
    OTHER (ATTACH LIST)
    TRANSFERS (FROM DIP ACCTS)
      TOTAL RECEIPTS
    DISBURSEMENTS
    NET PAYROLL
    PAYROLL TAXES
    SALES, USE, & OTHER TAXES
    INVENTORY PURCHASES
    SECURED/ RENTAL/ LEASES
    INSURANCE
    ADMINISTRATIVE
    SELLING
    OTHER (ATTACH LIST)
    OWNER DRAW *
    TRANSFERS (TO DIP ACCTS)
    PROFESSIONAL FEES
    U.S. TRUSTEE QUARTERLY FEES
    COURT COSTS
    TOTAL DISBURSEMENTS                                                           0

    NET CASH FLOW
    (RECEIPTS LESS DISBURSEMENTS)

    CASH – END OF MONTH                                  $                40.00
    * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                         THE FOLLOWING SECTION MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

    TOTAL DISBURSEMENTS
      LESS: TRANSFERS TO OTHER DEBTOR IN
    POSSESSION ACCOUNTS
      PLUS: ESTATE DISBURSEMENTS MADE BY
    OUTSIDE SOURCES (i.e. from escrow accounts)
    TOTAL DISBURSEMENTS FOR CALCULATING U.S.                                                              0
    TRUSTEE QUARTERLY FEES
                  Case 1-18-42228-cec                       Doc 53           Filed 06/13/19                Entered 06/13/19 14:23:14




n re   FMTB BH LLC                                                           Case No.          18-42228
       Debtor                                                       Reporting Period:                         May-19

                                                      BANK RECONCILIATIONS
       Continuation Sheet for MOR-1
       A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
       (Bank account numbers may be redacted to last four numbers.)


                                               Operating                     Payroll                     Tax                        Other
                                        #                            #                         #                         #
       BALANCE PER                      $                  40.00      $                  -     $                    -     $                 -
       BOOKS

       BANK BALANCE
       (+) DEPOSITS IN                  $                      -      $                  -     $                    -     $                 -
       TRANSIT (ATTACH
       LIST)
       (-) OUTSTANDING                  $                      -      $                  -     $                    -     $                 -
       CHECKS (ATTACH
       LIST):
       OTHER (ATTACH                    $                      -      $                  -     $                    -     $                 -
       EXPLANATION)

       ADJUSTED BANK                    $                  40.00      $                  -     $                    -     $                 -
       BALANCE *
       *"Adjusted Bank Balance" must equal "Balance per Books"


       DEPOSITS IN TRANSIT                         Date                      Amount                      Date                      Amount




       CHECKS OUTSTANDING                          Ck. #                     Amount                      Ck. #                     Amount




       OTHER
           Case 1-18-42228-cec                      Doc 53          Filed 06/13/19              Entered 06/13/19 14:23:14




n re   FMTB BH LLC                                                                                 Case No.             18-42228
                                                                                          Reporting Period:                        May-19


                                      STATEMENT OF OPERATIONS (Income Statement)
       The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
       when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                          REVENUES                                                  MONTH               CUMULATIVE -FILING
                                                                                                                            TO DATE
       Gross Revenues                                                                      $                     -      $              -
       Less: Returns and Allowances                                                        $                     -      $              -
       Net Revenue                                                                         $                     -      $              -
       COST OF GOODS SOLD
       Beginning Inventory                                                                 $                     -      $              -
       Add: Purchases                                                                      $                     -      $              -
       Add: Cost of Labor                                                                  $                     -      $              -
       Add: Other Costs (attach schedule)                                                  $                     -      $              -
       Less: Ending Inventory                                                              $                     -      $              -
       Cost of Goods Sold                                                                  $                     -      $              -
       Gross Profit                                                                        $                     -      $              -
       OPERATING EXPENSES
       Advertising                                                                         $                     -      $              -
       Auto and Truck Expense                                                              $                     -      $              -
       Bad Debts                                                                           $                     -      $              -
       Contributions                                                                       $                     -      $              -
       Employee Benefits Programs                                                          $                     -      $              -
       Officer/Insider Compensation*                                                       $                     -      $              -
       Insurance                                                                           $                     -      $              -
       Management Fees/Bonuses                                                             $                     -      $              -
       Office Expense                                                                      $                     -      $              -
       Pension & Profit-Sharing Plans                                                      $                     -      $              -
       Repairs and Maintenance                                                             $                     -      $              -
       Rent and Lease Expense                                                              $                     -      $              -
       Salaries/Commissions/Fees                                                           $                     -      $              -
       Supplies                                                                            $                     -      $              -
       Taxes - Payroll                                                                     $                     -      $              -
       Taxes - Real Estate                                                                 $                     -      $              -
       Taxes - Other                                                                       $                     -      $              -
       Travel and Entertainment                                                            $                     -      $              -
       Utilities                                                                           $                     -      $              -
       Other (attach schedule)                                                             $                     -      $              -
       Total Operating Expenses Before Depreciation                                        $                     -      $              -
       Depreciation/Depletion/Amortization                                                 $                     -      $              -
       Net Profit (Loss) Before Other Income & Expenses                                    $                     -      $              -
       OTHER INCOME AND EXPENSES
       Other Income (attach schedule)                                                      $                     -      $              -
       Interest Expense                                                                    $                     -      $              -
       Other Expense (attach schedule)                                                     $                     -      $              -
       Net Profit (Loss) Before Reorganization Items                                       $                     -      $              -
            Case 1-18-42228-cec                              Doc 53   Filed 06/13/19   Entered 06/13/19 14:23:14




n re   FMTB BH LLC                                                                          Case No.    18-42228
                                                                                   Reporting Period:                  May-19

        REORGANIZATION ITEMS
        Professional Fees                                                          $              -    $                 -
        U. S. Trustee Quarterly Fees                                               $              -    $                 -
        Interest Earned on Accumulated Cash from Chapter 11 (see continuation      $              -    $                 -
       sheet)
        Gain (Loss) from Sale of Equipment                                         $              -    $                 -
        Other Reorganization Expenses (attach schedule)                            $              -    $                 -
        Total Reorganization Expenses                                              $              -    $                 -
        Income Taxes                                                               $              -    $                 -
        Net Profit (Loss)                                                          $              -    $                 -
       *"Insider" is defined in 11 U.S.C. Section 101(31).


       BREAKDOWN OF “OTHER” CATEGORY

       OTHER COSTS




       OTHER OPERATIONAL EXPENSES




       OTHER INCOME




       OTHER EXPENSES




       OTHER REORGANIZATION EXPENSES




       Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
       Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
       bankruptcy proceeding, should be reported as a reorganization item.
                    Case 1-18-42228-cec                                 Doc 53              Filed 06/13/19                      Entered 06/13/19 14:23:14



In re FMTB BH LLC                                                                              Case No.                             18-42228
                                                                                      Reporting Period:                              May-19

                                                                              BALANCE SHEET
    The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                     ASSETS                                       BOOK VALUE AT END OF BOOK VALUE AT END OF BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING   PRIOR REPORTING MONTH  DATE OR SCHEDULED
                                                                                        MONTH
    CURRENT ASSETS
    Unrestricted Cash and Equivalents
    Restricted Cash and Cash Equivalents (see continuation
    sheet)
    Accounts Receivable (Net)
    Notes Receivable
    Inventories
    Prepaid Expenses
    Professional Retainers
    Other Current Assets (attach schedule)
    TOTAL CURRENT ASSETS
    PROPERTY & EQUIPMENT
    Real Property and Improvements
    Machinery and Equipment
    Furniture, Fixtures and Office Equipment
    Leasehold Improvements
    Vehicles
    Less: Accumulated Depreciation
    TOTAL PROPERTY & EQUIPMENT
    OTHER ASSETS
    Amounts due from Insiders*
    Other Assets (attach schedule)
    TOTAL OTHER ASSETS
    TOTAL ASSETS
                     LIABILITIES AND OWNER EQUITY                                 BOOK VALUE AT END OF BOOK VALUE AT END OF BOOK VALUE ON PETITION
                                                                                   CURRENT REPORTING   PRIOR REPORTING MONTH        DATE
                                                                                        MONTH
    LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
    Accounts Payable
    Taxes Payable (refer to FORM MOR-4)
    Wages Payable
    Notes Payable
    Rent / Leases - Building/Equipment
    Secured Debt / Adequate Protection Payments
    Professional Fees
    Amounts Due to Insiders*
    Other Post-petition Liabilities (attach schedule)
    TOTAL POST-PETITION LIABILITIES
    LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
    Secured Debt
    Priority Debt
    Unsecured Debt
    TOTAL PRE-PETITION LIABILITIES
    TOTAL LIABILITIES
    OWNERS' EQUITY
    Capital Stock
    Additional Paid-In Capital
    Partners' Capital Account
    Owner's Equity Account
    Retained Earnings - Pre-Petition
    Retained Earnings - Post-petition
    Adjustments to Owner Equity (attach schedule)
    Post-petition Contributions (attach schedule)
    NET OWNERS’ EQUITY
    TOTAL LIABILITIES AND OWNERS' EQUITY
    *"Insider" is defined in 11 U.S.C. Section 101(31).
                   Case 1-18-42228-cec                    Doc 53          Filed 06/13/19                Entered 06/13/19 14:23:14



In re FMTB BH LLC                                                             Case No.                   18-42228
                                                                     Reporting Period:                    May-19


    BALANCE SHEET - continuation section
                              ASSETS                             BOOK VALUE AT END OF BOOK VALUE AT END OF          BOOK VALUE ON
                                                                  CURRENT REPORTING     PRIOR REPORTING             PETITION DATE
                                                                       MONTH                MONTH
    Other Current Assets




    Other Assets




                 LIABILITIES AND OWNER EQUITY                    BOOK VALUE AT END OF                               BOOK VALUE ON
                                                                  CURRENT REPORTING                                 PETITION DATE
                                                                       MONTH
    Other Post-petition Liabilities




    Adjustments to Owner’s Equity




    Post-Petition Contributions




    Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
    Typically, restricted cash is segregated into a separate account, such as an escrow account.
                Case 1-18-42228-cec                         Doc 53          Filed 06/13/19                   Entered 06/13/19 14:23:14



In re FMTB BH LLC                                                                         Case No. 18-42228
      Debtor                                                                     Reporting Period:   May-19

                                           STATUS OF POST-PETITION TAXES
    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.
                                                             Amount
                                                             Withheld
                                           Beginning          and/or            Amount                         Check # or
    Federal                                  Tax             Accrued             Paid        Date Paid           EFT      Ending Tax
    Withholding                            $         -      $          -    $            -   $           -     $         -     $           -
    FICA-Employee                          $         -      $          -    $            -   $           -     $         -     $           -
    FICA-Employer                          $         -      $          -    $            -   $           -     $         -     $           -
    Unemployment                           $         -      $          -    $            -   $           -     $         -     $           -
    Income                                 $         -      $          -    $            -   $           -     $         -     $           -
    Other:_____________                    $         -      $          -    $            -   $           -     $         -     $           -
      Total Federal Taxes                  $         -      $          -    $            -   $           -     $         -     $           -
    State and Local
    Withholding                            $         -      $          -    $            -   $           -     $         -     $           -
    Sales                                  $         -      $          -    $            -   $           -     $         -     $           -
    Excise                                 $         -      $          -    $            -   $           -     $         -     $           -
    Unemployment                           $         -      $          -    $            -   $           -     $         -     $           -
    Real Property                          $         -      $          -    $            -   $           -     $         -     $           -
    Personal Property                      $         -      $          -    $            -   $           -     $         -     $           -
    Other:_____________                    $         -      $          -    $            -   $           -     $         -     $           -
     Total State and Local                 $         -      $          -    $            -   $           -     $         -     $           -


    Total Taxes                            $         -      $          -    $            -   $           -     $         -     $           -


                                  SUMMARY OF UNPAID POST-PETITION DEBTS
    Attach aged listing of accounts payable.
                                                                            Number of Days Past Due
                                               Current          0-30             31-60           61-90             Over 91         Total
    Accounts Payable                                $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Wages Payable                                   $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Taxes Payable                                   $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Rent/Leases-Building                            $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Rent/Leases-Equipment                           $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Secured Debt/Adequate                           $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Protection Payments
    Professional Fees                               $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Amounts Due to Insiders                         $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Other:______________                            $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Other:______________                            $0.00           $0.00           $0.00            $0.00             $0.00          $0.00
    Total Post-petition Debts                       $0.00           $0.00           $0.00            $0.00             $0.00          $0.00

    Explain how and when the Debtor intends to pay any past due post-petition debts.
                               Case 1-18-42228-cec              Doc 53        Filed 06/13/19      Entered 06/13/19 14:23:14




In re FMTB BH LLC                                                                          Case No. 18-42228
      Debtor                                                                      Reporting Period:          May-19


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                       Accounts Receivable Reconciliation                             Amount
    Total Accounts Receivable at the beginning of the reporting period                     $0.00
    Plus: Amounts billed during the period                                                 $0.00
    Less: Amounts collected during the period                                              $0.00
    Total Accounts Receivable at the end of the reporting period                           $0.00


    Accounts Receivable Aging                                     0-30 Days          31-60 Days         61-90 Days     91+ Days   Total
    0 - 30 days old
    31 - 60 days old
    61 - 90 days old
    91+ days old
    Total Accounts Receivable

    Less: Bad Debts (Amount considered uncollectible)

    Net Accounts Receivable


                                                         TAXES RECONCILIATION AND AGING

    Taxes Payable                                                 0-30 Days          31-60 Days         61-90 Days     91+ Days   Total
    0 - 30 days old
    31 - 60 days old
    61 - 90 days old
    91+ days old
    Total Taxes Payable
    Total Accounts Payable
           Case 1-18-42228-cec                          Doc 53            Filed 06/13/19                Entered 06/13/19 14:23:14




In re FMTB BH LLC                                                         Case No. 18-42228
      Debtor                                                     Reporting Period:          May-19


                                           PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                 NAME                   TYPE OF PAYMENT              AMOUNT PAID           TOTAL PAID TO DATE




                          TOTAL PAYMENTS TO INSIDERS                             $0.00



                                                                          PROFESSIONALS
                                         DATE OF COURT
                                            ORDER                                                                                                 TOTAL INCURRED &
                 NAME                     AUTHORIZING            AMOUNT APPROVED               AMOUNT PAID           TOTAL PAID TO DATE               UNPAID*




                  TOTAL PAYMENTS TO PROFESSIONALS                                $0.00
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



         POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                  AND ADEQUATE PROTECTION PAYMENTS
                                          SCHEDULED
                                       MONTHLY PAYMENT               AMOUNT PAID           TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                    DURING MONTH               PETITION




                                          TOTAL PAYMENTS
           Case 1-18-42228-cec            Doc 53       Filed 06/13/19       Entered 06/13/19 14:23:14




In re FMTB BH LLC                                                                        Case No. 18-42228
      Debtor                                                                    Reporting Period:          May-19



                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes              No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of                           *
   1   business this reporting period?
       Have any funds been disbursed from any account other than a debtor in                           *
   2   possession account this reporting period?
       Is the Debtor delinquent in the timely filing of any post-petition tax                          *
   3   returns?
       Are workers compensation, general liability or other necessary                                  *
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?
   5   Is the Debtor delinquent in paying any insurance premium payment?                               *
       Have any payments been made on pre-petition liabilities this reporting                          *
   6   period?
       Are any post petition receivables (accounts, notes or loans) due from                           *
   7   related parties?
   8   Are any post petition payroll taxes past due?                                                   *
   9   Are any post petition State or Federal income taxes past due?                                   *
  10   Are any post petition real estate taxes past due?                                               *
  11   Are any other post petition taxes past due?                                                     *
  12   Have any pre-petition taxes been paid during this reporting period?                             *
  13   Are any amounts owed to post petition creditors delinquent?                                     *
  14   Are any wage payments past due?                                                                 *
       Have any post petition loans been been received by the Debtor from any                          *
  15   party?
  16   Is the Debtor delinquent in paying any U.S. Trustee fees?                                       *
       Is the Debtor delinquent with any court ordered payments to attorneys                           *
  17   or other professionals?
       Have the owners or shareholders received any compensation outside of                            *
  18   the normal course of business?
Case 1-18-42228-cec   Doc 53   Filed 06/13/19   Entered 06/13/19 14:23:14
